                           IN THE UNITED STATES DISTRICT COURT

                               FOR THE DISTRICT OF ALASKA

FIRST INSURANCE FUNDING CORP.,

                                       Plaintiff,

v.                                                  Case No. 3:17-cv-00152-SLG

BLACK GOLD EXPRESS, INC.,

                                   Defendant.


                              ORDER AND DEFAULT JUDGMENT

          Upon consideration of First Insurance Funding Corp’s Motion for Attorney Fees

(Docket 9) and Application for Default Judgment (Docket 10), the Court hereby GRANTS

the motions.

                   IT IS FURTHER ORDERED that judgment is entered in favor of Plaintiff and

against Defendant Black Gold Express, Inc. for the following amounts:

          a.       Principal Amount:                      $   151,000.19

          b.       Attorney Fees                          $      4,012.50
                   (as of August 17, 2017)

          c.       Costs: 1                               $

          d.       TOTAL JUDGMENT:                        $   155,012.69

          e.       Post Judgment Interest Rate:                  1.23 %




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    See Local Rule 54.1.


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        IT IS FURTHER ORDERED THAT Plaintiff may by motion seek to amend this

judgment to include any additional charges, costs, expenses, and/or attorney fees incurred

after August 17, 2017 that relate to the loan at issue in this lawsuit or in the enforcement

of this judgment.

        DATED this 11th day of September, 2017 at Anchorage, Alaska.



                                                 /s/ Sharon L. Gleason
                                                 UNITED STATES DISTRICT JUDGE




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